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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                     §
       Plaintiffs,                   §
                                     §
                                     §    Civil Action No. 1:17-cv-00365-DAE-AWA
vs.
                                     §
                                     §
GRANDE COMMUNICATIONS
NETWORKS LLC,                        §
                                     §
                                     §
       Defendant.
                                     §
                                     §
                      PLAINTIFFS’ MOTION TO EXCLUDE
            PROPOSED EXPERT TESTIMONY OF JONATHAN KEMMERER
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                                       INTRODUCTION

       Grande has proffered Jonathan Kemmerer as an expert to present a hodgepodge of

unreliable and irrelevant opinions. Kemmerer purports to offer testimony on copyright ownership,

online file-sharing, BitTorrent, and the legal and technical steps record companies could take to

mitigate damages from piracy, yet he lacks experience and expertise in all of these subject matters;

the Court should exclude his testimony.

       First, in his initial report Kemmerer opines that Plaintiffs do not own the copyrights of

some of the works in suit.1 But after Kemmerer’s initial report was submitted, Plaintiffs submitted

declarations establishing their ownership of all of the works in suit. At his recent deposition,

Kemmerer acknowledged he had not reviewed Plaintiffs’ declarations, and he appeared to abandon

his testimony about the ownership of Plaintiffs’ copyrights.2 Having abandoned this portion of his

testimony, he cannot present it at trial. If Grande nonetheless tries to resurrect Kemmerer’s

testimony on the subject, the testimony should be excluded because the question of whether

Plaintiffs own the copyrights is not a matter of expert opinion. Moreover, lacking any experience

or expertise in copyright ownership, Kemmerer is wholly unqualified to testify on the subject.

       Second, Kemmerer’s estimate of Plaintiffs’ lost profits is critically flawed because it fails

to account for the viral nature of music piracy. Kemmerer’s approach vastly understates the actual

amount of copyright infringement and resultant harm to Plaintiffs, rendering his methodology

hopelessly unreliable. It should be excluded.

       Third, Kemmerer’s opinion that Grande does not benefit from facilitating the infringement

on its network is wholly divorced from logic. Kemmerer does not dispute that Grande continued

providing known repeat infringing subscribers with internet service, and conceded that by doing


1
  Kemmerer’s initial report (“Rpt.”) is attached as Exhibit A. His supplemental report (“Suppl.
Rpt.”) is attached as Exhibit B.
2
  Ex. C, J. Kemmerer Dep. Tr. 144:18-25 (“Tr.”) (“I don’t express -- intend to express any opinion
about the legal issue of ownership, period.”).

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so instead of terminating them, Grande was able to keep those subscribers’ fees. This basic fact

wholly contradicts Kemmerer’s opinion, showing it to be the sort of impermissible ipse dixit

testimony that courts routinely exclude.

       Fourth, Kemmerer’s opinion on statutory damages lacks any recognized methodology.

Indeed, as explained below, his proposed amount of statutory damages is arbitrary; it is based on

nothing more than a self-serving comment by an executive of Grande’s management company

(Patriot Media) that $500,000 would “capture the attention of senior management.”

       Lastly, Kemmerer is wholly unqualified to opine on Plaintiffs’ efforts to mitigate damages.

He lacks any relevant expertise on the steps Plaintiffs allegedly could or should have taken to

address online piracy. Kemmerer simply parrots the arguments of Grande’s lawyers. Grande

should not be allowed to dress up its lawyer arguments as expert opinions.

                                       LEGAL STANDARD

       “Expert testimony is admissible only if the proponent demonstrates that: (1) the expert is

qualified; (2) the evidence is relevant to the case; and (3) the evidence is reliable.” Falcon v. State

Farm Lloyds, 2014 WL 2711849, at *5 (W.D. Tex. June 16, 2014) (Ezra, J.) (citing Watkins v.

Telsmith, Inc., 121 F.3d 984, 988–89 (5th Cir. 1997)). An expert is qualified “by virtue of his

knowledge, skill, experience, training, or education.” Id. at *10. Testimony is relevant if it will

“help the trier of fact to understand the evidence or to determine a fact in issue,” therefore “expert

testimony which does not relate to any issue in the case” should be excluded. Id. at *7. An expert’s

testimony must be “based on sufficient facts, [] the product of reliable methods, and the witness

[must have] applied the principles soundly.” Price v. Nat’l R.R. Passenger Corp., 2000 WL

33349816, at *3 (W.D. Tex. Dec. 29, 2000) (Austin, J.). Reliability means that the expert’s

testimony must be based on the “methods and procedures of science” rather than on “subjective

belief or unsupported speculation.” Pharr v. Wille, 2016 WL 4082740, at *7 (W.D. Tex. July 29,

2016) (Ezra, J.).

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                                          ARGUMENT

       KEMMERER’S OPINIONS ON COPYRIGHT OWNERSHIP SHOULD BE EXCLUDED.

       In his initial report, Kemmerer opines that Plaintiffs do not own copyrights to some of the

1,583 works in suit. 3 After Kemmerer submitted his initial report, Plaintiffs submitted declarations

that establish their ownership of all of the copyrights at issue. Kemmerer then submitted his

supplemental report, in which he assumed that Plaintiffs own all of the copyrights for the works in

suit and re-ran his calculations accordingly.4 At his deposition, Kemmerer admitted that he had

not reviewed Plaintiffs’ declarations5 and confirmed that he does not intend to offer any opinions

at trial regarding the ownership evidence provided after his initial report.6 Indeed, he confirmed

that he “do[es]n’t express -- intend to express any opinion about the legal issue of ownership,

period.”7

       Thus, it appears that Kemmerer has abandoned his testimony regarding Plaintiffs’

copyrighted ownership. Accordingly, his testimony on this subject matter should be excluded. But,

to the extent that Grande may seek to introduce any testimony from Kemmerer regarding

Plaintiffs’ copyright ownership, Kemmerer should not be allowed to present it. Grande is free to

challenge the sufficiency or reliability of Plaintiffs’ evidence as a factual matter or the legal

conclusions flowing from that evidence (though Grande has challenged neither). Whether

Plaintiffs own these copyrights, however, is not a matter of expert opinion. Moreover, even if

Plaintiffs’ copyright ownership were a proper matter of opinion, Kemmerer is wholly unqualified

to offer any testimony on the subject.8 He lacks experience and expertise in copyright ownership;



3
  Rpt. ¶¶ 35-37, JEK-5, App’x D.
4
  Tr. 150:25-151:13 (“The request [from counsel] was to assume, as I have in my supplemental
report, that there are no issues, rerun my numbers assuming no issues as to ownership ….”).
5
  Tr: 141:25-143:9.
6
  Tr. 144:1-25.
7
  Tr. 144:18-25.
8
  Tr. 40:23-42:5.

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he has never had education or job responsibilities that included copyright registration or

ownership,9 and has never published on the topic of copyrights.10 His opinion is not based on his

experience or expertise as a CPA, and is no more reliable than if Grande had submitted the

testimony from a passerby on the street. In short, he is unqualified to testify about whether

Plaintiffs own the copyrights to the works in suit, and his testimony would not assist the trier of

fact.

          KEMMERER’S ANALYSIS OF PLAINTIFFS’ LOST PROFITS IS UNRELIABLE AND NOT A
          RELEVANT DAMAGES MEASURE.

          Kemmerer’s estimate of Plaintiffs’ lost profits is fatally flawed because it ignores the viral

nature of peer-to-peer piracy through BitTorrent. Kemmerer has no experience in the music

industry or with online file sharing.11 That lack of expertise infects his unsound lost profits

opinions. Kemmerer’s calculations are based on the infringements that Rightscorp happened to

detect, which he then multiplies by the amount of profit that Kemmerer contends Plaintiffs receive

from purchases on iTunes or streaming services.12 But the BitTorrent infringement that Rightscorp

detects is just the tip of the iceberg. The purpose of BitTorrent is to enable users to share files,

including Plaintiffs’ copyrighted works, with many other BitTorrent users.13 Once shared, those

copyrighted works can then be re-shared many times over with countless other BitTorrent users.

Rightscorp’s “infringement finder” detects when Grande users, who are making available

Plaintiffs’ copyrighted work using BitTorrent, share their work with Rightscorp.14 But Rightscorp

cannot be in all places at all times. Neither Rightscorp nor any other detection service can catalog

all of the illegal file-sharing that Grande subscribers engage in with other BitTorrent users; nor can


9
  Tr. 43:15-21.
10
   Tr. 43:11-14, 43:22-25.
11
   Tr. 21:1-6, 29:5-11, 34:15-18, 71:9-20.
12
   Suppl. Rpt. ¶¶ 9-11, JEK-18B; Rpt. ¶¶ 53-55, 58, JEK-10A.
13
   Ex. D, Expert Report of Barbara Frederiksen-Cross Rpt. (“F-C Rpt.”) ¶ 32. See also Expert
Report of Geoff Cohen ¶¶ 39-40 [Dkt. 232-1].
14
   F-C Rpt. ¶¶ 56-59.

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Rightscorp detect the file-sharing that other recipients engage in after receiving a work from a

Grande subscriber whose sharing Rightscorp does detect.15

       For those reasons, Plaintiffs’ expert Dr. William Lehr, a Ph.D. economist at MIT, explains

that the Rightscorp infringement data alone is too limited in scope to support a reasonable

calculation of Plaintiffs’ lost profits from the entirety of infringement occurring over Grande’s

network.16 But Kemmerer fails to make any effort to account for the viral nature of peer-to-peer

file-sharing. He simply uses, without adjustment or recognition, the data from the first level of

infringement, without consideration of the massive piracy that occurs afterwards. That error

renders his methodology fundamentally unreliable.

       Kemmerer rationalizes the limitations of his lost profits calculations with the simplistic

view that he can only perform calculations with the data available.17 But that unsupported approach

violates well established law. The Fifth Circuit and district courts within it have held that opinions

based on partial data or unreliable assumptions must be excluded. See, e.g., Paz v. Brush

Engineered Materials, Inc., 555 F.3d 383, 389 (5th Cir. 2009) (affirming exclusion of expert

opinion based on insufficient information and false assumption); Jacked Up, LLC v. Sara Lee

Corp., 291 F. Supp. 3d 795, 807 (N.D. Tex. 2018) (excluding damages estimate where assumptions

“are unsupported by or contradict the evidence at hand”), aff’d, 2018 WL 2064126 (N.D. Tex.

May 2, 2018); Whitney Nat. Bank v. Air Ambulance by B & C Flight Mgmt., Inc., 516 F. Supp. 2d

802, 817 (S.D. Tex. 2007) (“Incorrect assumptions critical to an expert’s opinion make that opinion

unreliable.”). An expert cannot simply do what is possible with the data that happens to be



15
   Indeed, the evidence conclusively establishes that other infringement occurs over Grande’s
network beyond what Rightscorp detects. Grande maintains an infringement database with notices
received from multiple other third-party services, not just Rightscorp. Ex. E, Expert Report of Dr.
William Lehr (“Lehr Rpt.”) ¶¶ 41-42. Remarkably, Kemmerer was not even aware of that
additional data. Tr. 182:7-183:10, 199:23-200:3, 297:3-19.
16
   Lehr Rpt. ¶ 26.
17
   Tr. 175:23-176:7, 178:17-179:5.

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available and present that opinion to a jury as reliable testimony. See U.S. ex rel. Barron v. Deloitte

& Touche, LLP, 2008 WL 7136869, at *4 (W.D. Tex. Sept. 26, 2008) (excluding as unreliable

testimony of damages expert who assumed, without any basis, that missing data confirmed a self-

interested result); see also Fed. R. Evid. 702 (expert testimony must be “based upon sufficient

facts or data”); Hathaway v. Bazany, 507 F.3d 312, 318 (5th Cir. 2007) (“[T]he existence of

sufficient facts and a reliable methodology is in all instances mandatory.”).

       KEMMERER’S OPINION THAT GRANDE DID NOT GAIN FROM THE INFRINGEMENT IS
       ILLOGICAL AND UNRELIABLE.

       Kemmerer asserts that Grande has not gained at all from the copyright infringement

occurring on its network, and that Grande was actually harmed by the infringement. Rpt. ¶¶ 59-

65. But Kemmerer fails to account for the benefits Grande received from facilitating its known

infringing subscribers’ unlawful conduct. As this Court has already held, Grande made an

affirmative decision not to terminate any infringing subscribers from October 2010 to June 2017,18

instead continuing to provide them with internet service and profiting from their subscriber fees in

return. Kemmerer should not be permitted to testify, illogically, that Grande somehow made that

decision to harm itself, especially when he acknowledges that companies cease financially harmful

activity.19 Kemmerer himself conceded that the premise of Plaintiffs’ claim that Grande profited

from the infringement—Grande continued reaping subscriber fees from known infringing

subscribers that it would not have received had it terminated those customers—was correct:

       Q. By keeping infringing subscribers as customers, Grande kept those subscribers’
       service fees, right? … Q. Well, let’s assume that Rightscorp does accurately detect
       and notify copyright infringement. A. As I have done. Q. Right. In that instance, by
       not terminating those subscribers, Grande was able to keep those subscribers’ fees
       that they paid Grande for the Internet service and whatever services they got? A.
       And maybe telephone service, maybe television service.20



18
   R&R on DMCA Safe Harbor M.S.J. at 12 [Dkt. 241].
19
   Tr. 283:16-284:14.
20
   Tr. 206:21-207:15.

                                                  6
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       Given that Kemmerer’s opinion contradicts the very facts that he himself has admitted, not

to mention basic logic that he also has admitted, his opinion that Grande has not gained from the

infringement it facilitated is impermissible ipse dixit testimony that must be excluded. “‘[N]othing

in either Daubert or the Federal Rules of Evidence requires a district court to admit opinion

evidence which is connected to existing data only by the ipse dixit of the expert. A court may

conclude that there is simply too great an analytical gap between the data and the opinion offered.’”

Jacked Up, LLC, 291 F. Supp. 3d at 807 (citing General Elec. Co. v. Joiner, 522 U.S. 136, 147

(1997)). The Court should exclude Kemmerer’s opinions on this topic in their entirety.

       KEMMERER’S STATUTORY DAMAGES OPINIONS ARE FUNDAMENTALLY FLAWED.

       Kemmerer’s opinions on the statutory damages factors, and the overall amount of statutory

damages, should also be excluded. Kemmerer identifies seven factors (which he calls the “Coach

factors,”) that he claims courts weigh when assessing statutory damages in copyright cases.21 He

opines on each one of those factors, but then effectively ignores them and instead arrives at a value

of $417,680 in statutory damages based on nothing more than the following two facts: (1) this

amount is precisely and arbitrarily double one of his unreliable lost profits estimates, and (2) an

executive of Grande’s parent company told him $500,000 would “have a meaningful impact.” Rpt.

¶¶ 74-75.22 This “analysis” is fundamentally unsound and inadmissible.

       First, Kemmerer usurps the jury’s role by sponsoring an amount of statutory damages.

Plaintiffs’ “right to a jury trial includes the right to have a jury determine the amount of statutory

damages, if any, awarded to the copyright owner.” Feltner v. Columbia Pictures Television, Inc.,



21
   Rpt. ¶ 74: “(1) the expenses saved and the profits reaped; (2) the revenues lost by the plaintiff;
(3) the value of the copyright; (4) the deterrent effect on others besides the defendant; (5) whether
the defendant’s conduct was innocent or willful; (6) whether a defendant has cooperated in
providing particular records from which to assess the value of the infringing material produced;
and (7) the potential for discouraging the defendant.”
22
   Tr. 227:18-228:11 (“I think the 500,000 I would characterize not as my opinion, but my
reporting of the results of a discussion with Mr. Jongeneel.”)

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523 U.S. 340, 353 (1998). The Court will instruct the jury on statutory damages, and the jury will

weigh those factors in assessing the award. An expert is not permitted to weigh those factors for

the jury to sponsor a statutory damages figure. See Macro Niche Software, Inc. v. 4 Imaging Sols.,

L.L.C., 2013 WL 12140417, at *4 (S.D. Tex. Dec. 18, 2013) (excluding expert’s testimony on

amount of statutory damages in copyright case).

       Second, Kemmerer has no expertise, experience, or personal knowledge to support his

assessment of the seven Coach factors. He has no experience calculating or opining on statutory

damages,23 and does not know if the factors he discusses are correct or required.24 Indeed, he

concedes that he lacks the experience and a reliable methodology to testify about several of the

factors, including whether an award of damages or injunctive relief will deter Grande or others,25

whether Grande cooperated in discovery,26 or whether Grande acted willfully.27

       Third, to arrive at his proposed amount of statutory damages ($417,680), Kemmerer simply

doubles his lost profits calculation. Rpt. ¶ 75. He does not explain how the “doubling factor” is the

product of his assessment of the Coach factors. Nor does he point to any methodology to justify

this doubling. To the contrary, Kemmerer admits he made up the doubling factor: “Q. The reason

you came up with the doubling factor for your first statutory damages calculation was to get to a

number around the 500,000 that Mr. Jongeneel said, right? A. That’s correct.”28 Worse, that

$500,000 target is merely the self-interested say-so of one executive at Grande’s parent company



23
   Tr. 60:12-23; 209:20-210:11.
24
   Tr. 208:5-25 (“I’m not saying that these [factors] are exclusive or required.”); id. at 209:18
(“[T]his is a nice list of things to consider….”).
25
   Tr. 218:12-219:15 (“Q. And do you have some methodology that you can point to that allows
you to reliably opine on X amount of damages is going to deter other defendants engaging in
similar conduct. A. I would say no.”).
26
   Tr. 226:9-226:21 (admitting he has no experience, expertise, or personal knowledge to support
this opinion, and was unaware of key discovery events, such as Plaintiffs’ two motions to compel.)
27
   Tr. 222:21-226:7 (conceding that he has not reviewed all of the relevant evidence—including
internal emails advocating deleting evidence).
28
   Tr. 247:13-17, 246:17-22; id. at 236:6-237:14 (“…I just chose to use a factor of 2….”).

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regarding what amount would “capture the attention of senior management”—not the product of

any independent, reliable analysis.29 This arbitrary and foreordained result is the opposite of

reliable, admissible expert analysis. See Limelight Networks, Inc. v. XO Commc’ns, LLC, 2018

WL 678245, at *9 (E.D. Va. Feb. 2, 2018) (excluding damages testimony where expert “provides

the Court with nothing more than the ipse dixit of a non-expert”); Gumwood HP Shopping

Partners, L.P. v. Simon Prop. Grp., Inc., 221 F. Supp. 3d 1033, 1039 (N.D. Ind. 2016) (holding

expert “relied on ipse dixit to … produce[] whatever amount of damages were necessary to reach

his figures”). Kemmerer’s statutory damages opinions should be excluded in their entirety.

       KEMMERER’S OPINIONS ON MITIGATION OF DAMAGES SHOULD BE EXCLUDED.

       The Court should exclude Kemmerer’s testimony about Plaintiffs’ efforts to protect their

copyrights and thereby mitigate damages. Kemmerer muses about alternative legal courses of

action Plaintiffs allegedly “could pursue” to protect their copyrights, instead of bringing this

lawsuit against Grande.30 For example, he asserts that Plaintiffs should not have sued Grande and

instead should have pursued different legal strategies, including suing more individual copyright

infringers, suing BitTorrent, using more cumbersome and costly encryption technology, and using

a different third-party detection service, instead of Rightscorp.31 But Kemmerer—an accountant—

is unqualified to present this testimony. He has no relevant education, training, knowledge, or

expertise to support these opinions about Plaintiffs’ legal and business strategies.32 He has no

experience working for the recorded music industry.33 He is not an expert on digital encryption or




29
   Tr. 228:12-20 (“Well, the questions that I asked him were along the lines of … what would be
an amount that would be large enough in whatever context to capture the attention of senior
management ….”); id. at 227:18-228:11 (“I think the 500,000 I would characterize not as my
opinion, but my reporting of the results of a discussion with Mr. Jongeneel.”).
30
   Rpt. ¶ 56.
31
   Supp. Rpt. ¶¶ 22-24.
32
   Tr. 46:24-47:4.
33
   Tr. 28:4-12.

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steps that recording companies take to reduce online copyright infringement.34 He has never before

worked on a case about sharing music online, BitTorrent, or the copyrights of either recordings or

musical compositions.35

       In addition, he has no knowledge of or expertise regarding the viral nature of digital piracy

or online file sharing,36 has only a general high-level understanding of how BitTorrent even

works,37 cites no academic research regarding online copyright infringement, and has no education

or training, and cites no research, regarding the encryption technology he asserts Plaintiffs should

have used.38 Finally, he has no experience or expertise in third-party online detection systems, like

Rightscorp (the service whose data he criticizes) or MarkMonitor and MUSO (the services he

asserts Plaintiffs should have used).39

       In sum, Kemmerer’s damages mitigation opinions are not based on any relevant

expertise—because he has none. U.S. ex rel. Ruscher v. Omnicare, Inc., 2015 WL 5178074, at *11

(S.D. Tex. Sept. 3, 2015) (excluding damages expert testimony on topics for which he had no

expertise). Indeed, these “opinions” merely narrate evidence and parrot arguments from Grande’s

counsel. See Robroy Indus.-Texas, LLC v. Thomas & Betts Corp., 2017 WL 1319553, at *9-*10

(E.D. Tex. Apr. 10, 2017) (excluding expert’s summary of evidence outside of her expertise); see

also In re C. R. Bard, Inc., Pelvic Repair Sys. Prod. Liab. Litig., 2018 WL 514798, at *2 (S.D.W.

Va. Jan. 23, 2018) (excluding expert’s “opinions to the extent that they simply make arguments

that [a party’s] lawyers may make”).

                                          CONCLUSION

       For the foregoing reasons, Kemmerer’s proposed testimony should be excluded.


34
   Tr. 247:23-248:1.
35
   Tr. 29:5-11, 34:11-19, 35:3-13.
36
   Tr. 72:15-21
37
   Tr. 70:14-71:17.
38
   Rpt. App’x A, C; Suppl. Rpt. App’x A, C.
39
   Id.

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Dated: March 6, 2018             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on March 6, 2019 all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                             /s/ Daniel C. Bitting
                                             Daniel C. Bitting




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